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                                                   EFiled: Mar 01 2023 03:14PM EST
                                                   Transaction ID 69249221
                                                   Case No. S22C-10-012 RHR
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

JOHN PAUL MAC ISAAC,                  )
                                      )
                   Plaintiff,         )
                                      )
      v.                              )      Case No. S22C-10-012 RHR
                                      )
CABLE NEWS NETWORK, INC.,             )
ADAM BENNETT SCHIFF,                  )
POLITICO LLC, ROBERT                  )
HUNTER BIDEN, AND                     )
BFPCC, INC.                           )
                                      )
                   Defendants.        )

                                SECOND AMENDED
                                   COMPLAINT

      COMES NOW, PLAINTIFF John Paul Mac Isaac (hereinafter, “Plaintiff”),

by and through undersigned counsel hereby sues Defendants and alleges as follows:

                    A. PARTIES, JURISDICTION & VENUE

      1.    This is an action for defamation, defamation per se, aiding and

abetting defamation, and civil conspiracy to commit defamation and requests

damages in excess of seventy-five thousand and 00/100 dollars ($75,000.00).

      2.    Plaintiff John Paul Mac Isaac (“Plaintiff”) is an individual over the

age of 18 who is sui juris and resides in Wilmington, Delaware.

      3.    Defendant Cable News Network, Inc. (“CNN”) is a Delaware

corporation that provides televised and internet-based news and commentary to
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cable television subscribers and the general public. Its registered agent is The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,

Wilmington, DE 19801.

      4.        Defendant Adam Bennett Schiff (“SCHIFF”), being sued in his

individual capacity, is an individual over the age of 18 who is sui juris and resides

in California and Maryland. SCHIFF is the United States Representative for the

28th District of California and was, at the time of the actions giving rise to this

Complaint, the Chairman of the House of Representatives Permanent Select

Committee on Intelligence. Schiff can be served at



      5.        Defendant Politico LLC (“POLITICO”) is a Delaware limited liability

company that purportedly provides news and information services at the

intersection of politics and policy to the general public.

      6.        Defendant BFPCC, Inc. (“BFPCC”) is a Delaware corporation that

was used for the 2020 Presidential campaign of President Joseph R. Biden.

      7.        Defendant Robert Hunter Biden (“HUNTER”) is currently a

California resident who transacts significant business in State of Delaware and has

significant ties to the State of Delaware.

      8.        Personal jurisdiction over Defendants is proper pursuant Del. Const.

Art. IV, § 7.
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      9.     Specific personal jurisdiction over SCHIFF is proper pursuant to 10

Del. C. §3104(c)(3).

      10.    Venue is appropriate in this Court as Plaintiff resides in New Castle

County.

                     B. FACTS APPLICABLE TO ALL COUNTS

      11.    Plaintiff incorporates by reference all allegations contained in

Paragraphs 1 – 11.

      12.    Plaintiff is a private citizen who currently resides in Wilmington,

Delaware.

      13.    Plaintiff owned a small business named The Mac Shop, Inc. (the

“Mac Shop”) which was a Delaware corporation.

      14.    Plaintiff was in the business of repairing Mac computers.

      15.    Plaintiff derived all of his income from the Mac Shop.

      16.    Plaintiff was a trusted and respected part of the community in

Wilmington, Delaware.

      17.    Plaintiff had a loyal customer-base who would refer others to his shop

to fix their Macs.

      18.    On or about April 12, 2019, HUNTER was referred to Plaintiff’s shop

to fix some damaged Macs.
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      19.    On April 12, 2019, HUNTER asked to recover information from the

damaged Mac computers. Copy of Repair Authorization attached as EXHIBIT A.

      20.    On or about April 13, 2019, at Plaintiff’s request, HUNTER returned

to the Mac Shop with a Western Digital external hard drive onto which Plaintiff

could transfer the recovered data.

      21.    Later that same day, on or about April 13, 2019, Plaintiff completed

the recovery and called HUNTER to notify him of such and to request that he

retrieve his recovered data.

      22.    On or about April 17, 2019, Plaintiff sent an electronic invoice to

HUNTER in the amount of $85.00.




      23.    Plaintiff reached out to HUNTER at least one more time thereafter to

request that he pay his invoice and retrieve his recovered data.

      24.    HUNTER never returned to the Mac Shop to retrieve his recovered

data nor did he pay his invoice.

      25.    Pursuant to the terms of the Repair Authorization signed by

HUNTER, “[e]quipment left with the Mac Shop after 90 days of notification of
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completed service will be treated as abandoned and you agree to hold the Mac

Shop harmless for any damage or loss of property.”

      26.   Starting in late July 2019 to October 14, 2020, Plaintiff had multiple

interactions with the Federal Bureau of Investigation (the “FBI”), U.S.

Congressional staff members, and Mr. Robert Costello, Esquire (“COSTELLO”),

attorney for Rudolph Giuliani, Esquire (“GIULIANI”).

      27.   On or about December 9, 2019, the FBI served a federal grand jury

subpoena on Plaintiff requiring he turn over the laptop and hard drive, which

Plaintiff did on that day. Copy of subpoena attached as EXHIBIT B.

      28.   In August 2020, Plaintiff connected with COSTELLO to whom he

provided a copy of the recovered data and the Repair Authorization.

      29.   Plaintiff specifically asked COSTELLO to not identify him to

GIULIANI or anyone else when discussing the recovered data as Plaintiff desired

to remain anonymous.

      30.   After providing a copy of the recovered data to COSTELLO but prior

to October 14, 2020, upon information and belief, GIULIANI provided

information from the recovered data to the New York Post newspaper (“NY

POST”).

      31.   In September 2020, a non-profit organization named the Aspen

Institute hosted an “exercise” entitled “The Burisma Leak” to “help prepare every
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major US newsroom and tech platform for potential hack-and-leak operations”1

(“Aspen Institute Burisma Exercise).

         32.      Billionaire George Soros and his Open Society Foundations provide

financial support to the Aspen Institute.2

         33.      The program for the Aspen Institute exercise presented an elaborate

day-by-day “hypothetical” situation where information “purportedly” from Hunter

Biden was leaked. Copy of program attached as EXHIBIT BB.

         34.      CNN participated in the Aspen Institute exercise.3

         35.      Upon information and belief, POLITICO likely participated in the

Aspen Institute exercise since Garrett M. Graff, a journalist who was the director

of cyber initiatives at the Aspen Institute, is a contributor to POLITICO.4

         36.      In fact, according to the article by the Washington Free Beacon

(Footnote 2), on October 7, 2020, Garrett M. Graff suggested reporters “check with

other news organizations” before publishing stories about emails associated with

HUNTER:




1 https://www.aspeninstitute.org/news/commission-on-information-disorder/
2 https://www.telesurenglish.net/news/Study-Exposes-George-Soros-Network-of-Media-Ties-20230126-0002.html
3 https://freebeacon.com/media/think-tank-funded-by-pro-biden-billionaires-colluded-with-journalists-and-big-tech-to-

kill-hunter-biden-coverage/
4 https://www.politico.com/news/magazine/2020/10/23/election-nightmares-guide-430915
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         37.      On October 13, 2020, Plaintiff received a call from Mr. George

Mesires,5 identifying himself as HUNTER’s attorney, asking if Plaintiff still had

possession of his client’s laptop and following up thereafter with an email to the

Plaintiff. Copy of email attached as EXHIBIT C.

         38.      On October 14, 2020, at approximately 5:00 AM, the NY POST

published an exposé about the contents of HUNTER’s recovered data.

         39.      Shortly thereafter, the NY POST “updated” the online version of the

exposé.

         40.      As a direct result of the NY POST exposé, public emotions were

heightened and many in the general public, the media, and the government began

to either defend or attempt to refute the exposé. The NY POST exposé fueled a rise

in anger and hatred between the different political movements.

         41.      As a result of the publication of the exposé, the Plaintiff quickly

became the target of accusations by those who sought to cast doubt on the

information contained in the laptop and the laptop itself.

         42.      Plaintiff was not involved in the disclosure of the recovered data to

the NY POST, did not promote the disclosure in any way, nor did the Plaintiff

authorize the disclosure.




5 George Mesires is a partner in the Chicago office of Faegre Drinker Biddle & Reath LLP.
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      43.    While Plaintiff verified how he came into possession of the recovered

data to the NY POST, Plaintiff was unaware of the details of the NY POST exposé,

when the NY POST exposé was going to be published, and Plaintiff explicitly told

the NY POST that he did not want to be identified.

      44.    Plaintiff did not authorize the disclosure of his identity by GIULIANI,

COSTELLO, or the NY POST, did not authorize the disclosure of the information,

nor was he involved in any determinations or strategy regarding the disclosure of

the information.

      45.    Plaintiff was not explicitly identified in the NY POST exposé but was,

instead, referred to as the Delaware computer repair shop “store’s owner.”

      46.    NY POST, as part of its original publication of the exposé and without

the consent of Plaintiff, published a photo of the Repair Authorization without

blurring the business name thereby notifying the public and the media where

HUNTER had dropped off his laptop for repair.

      47.    Also on October 14, 2020, subsequent to the NY POST’s disclosure

of the Plaintiff’s identity, other media outlets, including writers from the Daily

Beast purportedly investigating the NY POST exposé, interviewed and wrote an

article about the Plaintiff portraying him as bizarre
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(https://www.thedailybeast.com/man-who-reportedly-gave-hunters-laptop-to-rudy-

speaks-out-in-bizarre-interview).6

         48.      In an attempt to clarify the inaccuracies about the Plaintiff published

in the article by the Daily Beast, Plaintiff’s counsel wrote a statement and

approached media outlets with that statement. The Wall Street Journal did not

return communications from Plaintiff’s counsel and the Washington Post

responded that they do not think the statement “would be a good fit” for the news

organization. Copy of clarifying statement by Plaintiff’s counsel attached as

EXHIBIT D and email from Washington Post attached as EXHIBIT E.

         49.      On or about October 19, 2020, a “Public Statement on the Hunter

Biden Emails,” signed by more than 50 former intelligence officials was released

stating that the information contained in the NY POST expose has “all the classic

earmarks of a Russian information operation,” but that they “do not know if the

emails…are genuine or not and that [they] do not have evidence of Russian

involvement…” Public Statement attached as EXHIBIT F.

         50.      Upon information and belief, the Public Statement was issued to

influence American voters to vote for then-candidate, now President, Joseph R.



6 The DAILY BEAST article was the result of Plaintiff being accosted by a group of journalists asking him questions

about his involvement in the NY POST exposé. Plaintiff, concerned about his and his family’s wellbeing, attempted to
respond in ways that would protect them but, not having ever been the subject of media inquiry, his responses come
across as confused and contradictory. In fact, his seemingly confused and contradictory statements were made because
of his inexperience with the media and his lifelong status as a private figure.
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Biden and offered no actual evidence of the claims that Russia was involved in the

release of the information from Hunter Biden’s laptop.

         51.      On October 19, 2020, Director of National Intelligence Ratcliffe,

stated:

                  “Let me be clear, the intelligence community doesn’t believe
                  [that the Hunter Biden laptop situation is part of a Russian
                  disinformation campaign] because there is no intelligence that
                  supports that [assertion] and we have shared no intelligence
                  with Chairman Schiff or any other member of Congress that
                  Hunter Biden’s laptop is part of some Russian disinformation
                  campaign. It’s simply not true…” Emphasis added.

         52.      In a letter dated, October 20, 2020, Ms. Jill C. Tyson, Assistant

Director of the FBI’s Office of Congressional Affairs reported to Congress that the

FBI has, “nothing to add at this time to the October 19th public statement by the

Director of National Intelligence about the available actionable intelligence.” Copy

of letter attached as EXHIBIT G.

         53.      Plaintiff is not a Russian agent nor is he a participant in a Russian

disinformation campaign.

         54.      On or about October 30, 2020, Plaintiff’s clarifying statement was

finally published by justhenews.com for all to read.7 Plaintiff was unable to get any

other news organization to publish the statement.




7 https://justthenews.com/accountability/russia-and-ukraine-scandals/lawyer-delaware-shop-owner-fbi-initially-turned-

down#article
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      55.    On October 21, 2021, POLITICO published a story confirming the

validity of the NY POST exposé. See

https://www.politico.com/news/magazine/2021/10/12/hunter-biden-corruption-

515583.

      56.    On March 16, 2022, the NY Times published an article further

verifying the validity of the NY POST exposé stating:




      See https://www.nytimes.com/2022/03/16/us/politics/hunter-biden-tax-bill-

investigation.html.

      57.    On March 30, 2022, the Washington Post confirmed the validity of

the NY POST exposé. See

https://www.washingtonpost.com/technology/2022/03/30/hunter-biden-laptop-

data-examined/.

      58.    In letters dated February 1, 2023, HUNTER, by and through his

attorney Abbe David Lowell, Esquire, admitted that he left devices with Plaintiff.

Letters from attached as EXHIBIT GG.
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            C. COUNT I: DEFAMATION AND DEFAMATION PER SE
                  ADAM BENNETT SCHIFF, INDIVIDUALLY

        59.      Plaintiff incorporates by reference all allegations contained in

Paragraphs 1 – 58.

        60.      SCHIFF, individually, was actively involved in fundraising for the

2020 Presidential campaign of Joseph R. Biden, Jr. Articles outlining Defendant’s

fundraising efforts attached as EXHIBIT H.

        61.      SCHIFF (and/or his staff) actively worked in secret with Twitter to

suppress stories that SCHIFF did not want spread.8

        62.      The suppression of the NY POST story on Twitter contributed to the

false narrative that Plaintiff was part of a Russian disinformation campaign.

        63.      Upon information and belief, SCHIFF actively participated in trying

to get Twitter to ban the NY POST exposé which, in turn, contributed to the

presumption that Russia was involved with the spread of the information.

        64.      The laptop held information that could have hurt the political

campaign of then-Presidential candidate, now President, Joseph R. Biden Jr, for

whom SCHIFF spent significant time campaigning.




8 https://www.foxnews.com/media/twitter-files-rep-adam-schiffs-office-requested-tech-giant-suspend-accounts
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        65.      According to a poll conducted by the Media Research Center, nearly

9.4% of Biden voters would not have voted for him had they known about the full

extent of the scandal.9




        66.      Upon information and belief, SCHIFF knowingly fomented further

anger and hatred against the Plaintiff and others in his defense of Presidential-

candidate, Joseph R. Biden, Jr., and his attempt to “kill” the story.

        67.      On or about Friday, October 16, 2020, at 6:40 pm EST, SCHIFF was

interviewed by broadcaster, Wolf Blitzer (“BLITZER”), on CNN as part of CNN’s

show, the Situation Room with Wolf Blitzer (the “Interview”). The Situation Room

with Wolf Blitzer attracts a very large world-wide audience. Transcript attached as

EXHIBIT I.

        68.      The Interview was conducted live “via Cisco Webex” with BLITZER

in New York and SCHIFF at home.




9 https://www.newsbusters.org/blogs/nb/rich-noyes/2020/11/24/special-report-stealing-presidency-2020
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      69.   BLITZER’s first question to SCHIFF was:

            “Does it surprise you at all that this information that
            Rudy Giuliani is peddling very well could be connected
            to some sort of Russian Government disinformation
            campaign?”
      70.   SCHIFF’s response to BLITZER’s question was:

            “Well we know that this whole smear on Joe Biden comes
            from the Kremlin. That’s been clear for well over a year now
            that they’ve been pushing this false narrative about the Vice
            President and his son. And, you know, the idea that the
            President, that the White House Counsel, and others were made
            aware that Giuliani was being used by Russian intelligence and
            using Russian intelligence in the sense of meeting with an
            agent of the Kremlin and pushing out this Kremlin false
            narrative…” Emphasis added.

      71.   SCHIFF continued with:

            “But clearly, the origins of this whole smear are from the
            Kremlin…” Emphasis added.
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        72.   Later in the interview, BLITZER, in what seems to be an attempt to

bolster the SCHIFF’s credentials and the veracity of the SCHIFF’s statements,

said:

              “Have you, as a member of the Gang of Eight, the top
              leadership in Congress, the Senate, and the House, and
              members of the Intelligence Committee, have you been
              formally briefed on what the Russians are up to right now in
              trying to peddle this kind of information?”

        73.   SCHIFF responded as follows:

              “Well, I was in the Intelligence Committee today to see what
              the latest was, and frankly, we haven’t gotten much from the
              intelligence community very recently, which concerns me.
              They have at times, some of the leadership, like Director [of
              National Intelligence] Ratcliffe, not been very forthcoming in
              terms of the intelligence on the Russian threat and been
              promoting this false equivalence with other countries.
              So, you know, I wish I could tell you more, Wolf. I wish the
              intelligence community was able to tell the public more.

              But we do know this: the Russians are once again actively
              involved in trying to denigrate the Vice President…”
              Emphasis added.
        74.   Director of National Intelligence Ratcliffe’s repudiation of that claim

on October 19, 2020 was during an interview on Fox News Mornings with Maria.

        75.   According to the Director of National Intelligence, SCHIFF did not

have any evidence and did not receive any report stating that the information

contained in the NY POST exposé was part of a Russian disinformation campaign.

        76.   SCHIFF confirmed this in his interview with BLITZER.
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       77.     The Interview was seemingly predicted by the Aspen Institute

Burisma Leak Exercise where the program for the exercise showed that, on Day 5

following the alleged leak, “House Intelligence Chair Adam Schiff says that

according to his briefings, the [intelligence community] is not being forthright with

the American people about the source and veracity of the leaks.” See EXHIBIT

BB.

       78.     In fact, during the Interview, SCHIFF specifically says that the

intelligence community has “not been very forthcoming in terms of the intelligence

on the Russian threat.”

       79.     SCHIFF’s statement during the Interview is eerily similar to what the

Aspen Institute Burisma Leak exercise program said SCHIFF would say.

       80.     The information contained in the NY POST exposé came from

HUNTER who voluntarily left his laptop with the Plaintiff and failed to return to

retrieve it.

       81.     This is not the first time SCHIFF has knowingly made false

statements about Russia’s involvement in United States politics. See Wall Street

Journal editorial opinion attached as EXHIBIT J.

       82.     SCHIFF had not received reports that the Hunter Biden laptop

information was part of a Russian disinformation campaign, therefore, SCHIFF

knowingly and intentionally made the false statements that the information
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contained in the NY POST exposé, originally obtained from the Plaintiff, was part

of a Russian plot to influence the U.S. Presidential election.

      83.      SCHIFF’s statements were not made during a Congressional debate or

committee proceeding.

      84.      SCHIFF was not carrying out any of his enumerated legislative

powers at the time of his interview.

      85.      SCHIFF was not carrying out any of his implied powers as a member

of Congress.

      86.      SCHIFF’s job description as a member of Congress does not include

knowingly conveying false information to the public.

      87.      Upon information and belief, SCHIFF’s false statements were made

from his home after normal working hours.

      88.      SCHIFF had significant involvement in the Presidential campaign of

Joseph R. Biden, Jr which included hosting fundraisers for the candidate and

speaking on the candidate’s behalf.

      89.      SCHIFF’s false statements were, in fact, campaign speech and not

speech associated with his Congressional duties which, of course, do not include

lying to the American public about the Plaintiff.

      90.      Plaintiff, a target of SCHIFF’s defamatory campaign speech, was not

a participant in any political campaign.
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      91.    SCHIFF knowingly conveyed false information with the intent to

harm the reputation of Plaintiff which, in turn, helped the candidacy of Joseph R.

Biden, Jr.

      92.    SCHIFF knowingly conveyed false information with the intent to

promote the election of Joseph R. Biden, the Presidential candidate most

vulnerable because of the NY POST exposé.

      93.    Upon information and belief, SCHIFF knowingly conveyed false

information to the public and worked with social media to suppress the spread of

the NY POST exposé with the intent to manipulate the public in the United States

to elect Joseph R. Biden, Jr. as the next President.

      94.    Plaintiff was the individual who obtained the information from

HUNTER that was eventually published by the NY POST, his identity had been

revealed by the NY POST prior to SCHIFF’s interview, and Plaintiff’s name was,

at that time, and remains synonymous with Hunter Biden’s laptop.

      95.    SCHIFF’s actions and campaign statements had the specific intent to

communicate to the world that the information presented in the NY POST exposé

was part of a Russian disinformation campaign.

      96.    SCHIFF’s actions and campaign statements had the specific intent to

communicate to the world that the Plaintiff is a Russian agent and/or a participant

in a Russian disinformation campaign.
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       97.   The tortious injury to Plaintiff in Delaware by SCHIFF’s false and

defamatory statements could reasonably have been foreseen.

       98.   SCHIFF, through his conduct of knowingly conveying false campaign

statements to a world-wide audience, was encouraging listeners to take action

against those who released this information, which specifically included the

Plaintiff.

       99.   Plaintiff, as a direct result of SCHIFF’s campaign statements, has lost

his good reputation in the community, is now widely considered either a Russian

agent or a participant in a Russian disinformation campaign as shown by the

attached Yelp Reviews and personal emails/threats received. Yelp reviews attached

as EXHIBIT K and personal threats attached as EXHIBIT L.

       100. Further evidence of the harm suffered by Plaintiff as a direct result of

SCHIFF’s false campaign statements is that the Plaintiff lost his loyal client-base

and, as a result, had to close his business.

       101. SCHIFF made the false and defamatory campaign statements to the

Situation Room’s worldwide audience without privilege to do so.

       102. SCHIFF’s false and defamatory campaign statements impute that

Plaintiff has committed an infamous crime, i.e., treason and/or other crimes against

the United States of America by participating in a Russian attempt to undermine

American democracy and the 2020 Presidential election.
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      103. As a direct and proximate result of the false and defamatory campaign

statements made by SCHIFF, Plaintiff has suffered, and continues to suffer,

substantial damages, including having to close his business.

      104. SCHIFF’s false and defamatory campaign statements are of the kind

that would tend to, and in fact did, prejudice the Plaintiff in the eyes of a

substantial and respectable portion of the community at large.

      105. SCHIFF acted with actual malice toward the Plaintiff in that he acted

with knowledge that his statements were false.

      106. Alternatively, SCHIFF acted with actual malice toward the Plaintiff in

that he acted with reckless disregard to the harm his knowingly defamatory false

campaign statements would have on the Plaintiff, both personally and as a small

business owner.

      107. SCHIFF’s false and defamatory campaign statements have subjected

and continue to subject the Plaintiff to distrust, scorn, ridicule, hatred, and

contempt. As such, the defamatory statements constitute defamation per se.

      108. Alternatively, SCHIFF knew or should have known the significant

impact his defamatory false campaign statements would have on the Plaintiff who

was the source of the information.

      109. SCHIFF knew or should have known that his false and defamatory

statements would be broadcast to an audience in Delaware.
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       110. SCHIFF knew or should have known that his false and defamatory

statements would be viewed via the Internet by Delaware residents.

       111. At the very least, SCHIFF was grossly negligent in making his

defamatory false statements about the Plaintiff.

                                  Prayer for Relief

       WHEREFORE, the Plaintiff JOHN PAUL MAC ISAAC prays for judgment

against the Defendant ADAM BENNETT SCHIFF as follows:

       (a)    Awarding Plaintiff compensatory damages of $1,500,000.00 to

replace Plaintiff’s lost income resulting from SCHIFF’s false and defamatory

statements;

       (b)    Awarding Plaintiff punitive damages as a result of SCHIFF’s

wrongdoing in an amount to be determined at trial;

       (c)    Awarding Plaintiff pre- and post-judgment interest;

       (d)    Awarding Plaintiff all attorneys’ fees and costs associated with

litigating this case;

       (e)    Requiring SCHIFF to make a public apology to Plaintiff; and

       (f)    Such further relief as this Court deems just and proper.
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            D.COUNT 2: DEFAMATION AND DEFAMATION PER SE
                                CNN

         112. Plaintiff incorporates by reference all allegations contained in

Paragraphs 1 – 111.

         113. Upon information and belief, CNN supported the candidacy of Joseph

R. Biden, Jr. for president in the 2020 presidential elections or, alternatively,

opposed the candidacy of Donald J. Trump.

         114. CNN participated in the Aspen Institute Burisma Leak Exercise in

September 2020.

         115. On or about October 16, 2020, at 6:40 pm EST, CNN televised the

Interview between SCHIFF and BLITZER.

         116. During the Interview, SCHIFF made false and defamatory campaign

statements indicating that he had confirmed that the source of the information from

the laptop was Russia.

         117. Plaintiff was the known source of the information from the laptop, not

Russia.

         118. CNN knew Plaintiff was the source of the information as it had

published an article referencing an interview with Plaintiff on October 14, 2020.10

In that article, it said:


10 https://lite.cnn.com/en/article/h   7e5fcdffc7051ba1d73b135ee16f5b3b
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        119. Despite the fact that CNN knew Plaintiff was the source of the

information, it broadcast the Interview of SCHIFF during which Plaintiff was

defamed.

        120. CNN also falsely reported that, based on the October 20, 2020, letter

to Congress from Ms. Jill C. Tyson, there was a “suggestion” that the review was

continuing.11

        121. There was no such suggestion in the letter to Congress.

        122. CNN’s false report that the letter from Ms. Jill C. Tyson suggested

that the review was continuing created a strong implication that U.S. intelligence

officials actually believed Russia was involved in the release of information from

Hunter Biden’s laptop.

        123. CNN boasts a viewership of over 700,000 viewers each week.12




11 https://www.cnn.com/2020/10/21/politics/fbi-russia-disinformation/index.html
12 https://www.adweek.com/tvnewser/week-of-march-28-basic-cable-ranker-fox-news-improves-to-no-1-in-total-

primetime-viewers/504622/
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       124. CNN broadcast and published its statements that the Hunter Biden

laptop is part of a Russian disinformation scheme and that the U.S. intelligence

agencies are continuing to investigate Russia’s participation without privilege to do

so to its over 700,000 viewers.

       125. The statements broadcast on CNN and published on its website are of

the kind that would tend to, and in fact did, prejudice the Plaintiff in the eyes of a

substantial and respectable portion of the community at large.

       126. At the time CNN broadcast the defamatory false statements, CNN

knew the backstory of the Hunter Biden laptop, having spoken with Plaintiff and

written about the Plaintiff on October 14, 2020.

       127. CNN acted with actual malice toward the Plaintiff by knowingly and

intentionally broadcasting and publishing false and defamatory statements about

the Hunter Biden laptop being tied to a Russian disinformation campaign in an

attempt to harm Plaintiff’s reputation.

       128. Alternatively, CNN acted with actual malice toward the Plaintiff by

knowingly broadcasting and publishing the false and defamatory statements about

Plaintiff with reckless disregard for the harm the false statements would cause to

the Plaintiff.

       129. CNN knowingly broadcast and published the falsehoods to third

parties – its over 700,000 viewers and its readership.
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      130. CNN knew or should have known that Plaintiff had no comparable

way to defend himself to the public.

      131. CNN knew or should have known such false and defamatory

statements would likely result in material and substantial injury to Plaintiff, as the

statements accused the Plaintiff of knowingly participating in a Russian scheme to

disrupt the 2020 presidential elections in the United States of America.

      132. CNN’s broadcast and publication of the false and defamatory

statements have subjected and continue to subject the Plaintiff to distrust, scorn,

ridicule, hatred, and contempt.

      133. CNN’s broadcast and publication of the false and defamatory

statements impute that Plaintiff has committed an infamous crime, i.e., treason

and/or other crimes against the United States of America by participating in a

Russian attempt to undermine American democracy and the 2020 Presidential

election.

      134. As a direct and proximate result of the false and defamatory

statements broadcast and published by CNN, Plaintiff has suffered, and continues

to suffer, substantial damages, including having to close his business.

      135. Upon information and belief, CNN executives specifically told its

journalists and television personalities to refer to the NY POST expose as having
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been resolved in the previously reported impeachment of President Donald

Trump.13

        136. Instead, CNN continually broadcast and published the false and

defamatory stories about the laptop being part of a Russian disinformation

campaign designed to influence the 2020 United States Presidential elections.

        137. It is clear by its broadcasts and publications, CNN intended to harm

the Plaintiff and any other party associated with the release of information from the

laptop by broadcasting and publishing the false and defamatory statements about

the Plaintiff.

        138. CNN acted with actual malice toward the Plaintiff in that it acted with

knowledge that the statements were false or, at the very least, acted with reckless

disregard to the harm the knowingly defamatory false statements would have on

the Plaintiff, both personally and as a small business owner.

        139. CNN had actual knowledge of the falsity of the claims and understood

the high probability that injury or damage would result to Plaintiff and, despite

such knowledge, broadcast and published the false and defamatory statements and

has issued no apology to the Plaintiff such as would begin to repair that damage.




13 https://nypost.com/2020/12/02/cnn-caught-burying-the-posts-hunter-biden-expose-devine/
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       140. In the alternative, CNN’s actions, as described above, were so

reckless or wanting in care that they constituted a conscious disregard or

indifference to the rights of Plaintiff.

                                   Prayer for Relief

       WHEREFORE, the Plaintiff JOHN PAUL MAC ISAAC prays for judgment

against the Defendant CABLE NEWS NETWORK, INC. as follows:

       (a)     Awarding Plaintiff compensatory damages of $1,500,000.00 to

replace Plaintiff’s lost income resulting from CNN’s false and defamatory

broadcast and publication;

       (b)     Awarding Plaintiff punitive damages as a result of CNN’s

wrongdoing in an amount to be determined at trial;

       (c)     Awarding Plaintiff pre- and post-judgment interest;

       (d)     Awarding Plaintiff all attorneys’ fees and costs associated with

litigating this case;

       (e)     Requiring CNN to make a public retraction of all false statements and

to issue a public apology to Plaintiff; and

       (f)     Such further relief as this Court deems just and proper.

             E. COUNT 4: DEFAMATION AND DEFAMATION PER SE
                                POLITICO

       141. Plaintiff incorporates by reference all allegations contained in

Paragraphs 1 – 58.
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        142. Upon information and belief, POLITICO supported the candidacy of

Joseph R. Biden, Jr. for president in the 2020 presidential elections or,

alternatively, opposed the candidacy of Donald J. Trump.

        143. POLITICO participated in the Aspen Institute Burisma Leak exercise

in September 2020.

        144. On October 19, 2020, POLITICO published an article entitled:14




        145. Studies have shown that many readers browse headlines and do not

read the actual underlying article.15 This shows the power of a headline.

        146. Upon information and belief, news providers focus particular attention

to the headline in order to drive readers to their site.

        147. The October 19, 2020 article relied on the “Public Statement on the

Hunter Biden Emails,” signed by more than 50 former intelligence officials

(EXHIBIT F) for its reporting.

        148. The headline to the October 19, 2020 article says that the Hunter

Biden story IS Russian disinformation, according to dozens of former intel

officials.


14 https://www.politico.com/news/2020/10/19/hunter-biden-story-russian-disinfo-430276
15 https://theconsciousvibe.com/this-is-why-most-people-only-read-headlines-study-finds/
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        149. POLITICO specifically referenced Plaintiff in its article:




        150. The 50 former senior intelligence officials did not state that the

Hunter Biden story IS Russian disinformation – that was POLITICO.

        151. Former Director of National Intelligence James Clapper, one of the 50

former senior intelligence officials who signed the public statement, said

POLITICO’s October 19, 2020 article “deliberately distorted” what was said.16

        152. Specifically, Mr. Clapper said:




        153. Paragraph 5 of the public statement from the 50 former senior

intelligence officers says:




16 https://www.washingtonpost.com/politics/2023/02/13/hunter-biden-laptop-claims-russian-disinfo/
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        154. POLITICO knowingly falsely stated as fact in the title of its article

that the Hunter Biden story IS Russian disinformation.

        155. The article was written by journalist Natasha Bertrand, who seemingly

has a history of transforming speculation into fact in the stories upon which she

reports.17

        156. POLITICO knowingly published the article with a false headline

stated as fact about Plaintiff and others involved in releasing the information about

the laptop.

        157. POLITICO knowingly published the false factual statement about the

Plaintiff without privilege to do so.

        158. The false and defamatory publication about the Plaintiff by

POLITICO include, but are not limited to, allegations that the information

published by the NY POST, which POLITICO clearly identifies the information as

coming from Plaintiff, was part of a Russian disinformation campaign, thereby

directly implying that the Plaintiff part of a Russian disinformation campaign

and/or, more specifically, a Russian agent.


17 https://www.washingtonpost.com/opinions/2020/02/28/how-politicos-natasha-bertrand-bootstrapped-dossier-

credulity-into-tv-gig/; https://greenwald.substack.com/p/cnns-new-reporter-natasha-bertrand
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       159. The defamatory publication was made negligently; without reasonable

care as to its truth or falsity, with knowledge of its falsity, and/or with reckless

disregard for the truth.

       160. The defamatory publication was published and viewed by

POLITICO’s readers.

       161. POLITICO’s publication alleges that Plaintiff committed crimes

including (but not limited to) working with Russians to spread “disinformation”

relating to the son of Democratic Party nominee, now President, Joseph Biden,

thereby implicating Plaintiff in the commission of a treasonous act by being part of

an attempt to undermine American democracy and the 2020 Presidential election.

       162. POLITICO’s publication is of the kind that would tend to, and in fact

did, prejudice the Plaintiff in the eyes of a substantial and respectable portion of

the community at large.

       163. POLITICO knowingly published the falsehoods as facts to third

parties – its readers.

       164. POLITICO knew or should have known that Plaintiff had no

comparable way to defend himself to the public.

       165. POLITICO knew or should have known such false statements in the

publication would likely result in material and substantial injury to Plaintiff, as the

statements call into question Plaintiff’s loyalty to the United States.
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      166. POLITICO knew or should have known such false statements in the

publication would likely result in subjecting Plaintiff to distrust, scorn, ridicule,

hatred, and contempt, which continues to this day.

      167. POLITICO’s publication of false statements impute that Plaintiff has

committed an infamous crime, i.e., treason and/or other crimes against the United

States of America by participating in a Russian attempt to undermine American

democracy and the 2020 Presidential election.

      168. As a direct and proximate result of the defamatory statements

published by POLITICO, Plaintiff has suffered, and continues to suffer, substantial

damages, including the loss of his business.

      169. POLITICO acted with actual malice towards the Plaintiff as it

intended to cause harm to the reputation of the Plaintiff and any parties affiliated

with the release of the information on the laptop through the knowing publication

of its false statements.

      170. POLITICO had actual knowledge of the falsity of the claims and

understood the high probability that injury or damage would result to Plaintiff and,

despite such knowledge, published the false and defamatory statement and has

issued no apology to the Plaintiff such as would repair that damage.
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       171. In the alternative, POLITICO’s actions, as described above, were so

reckless or wanting in care that they constituted a conscious disregard or

indifference to the rights of Plaintiff.

                                   Prayer for Relief

       WHEREFORE, the Plaintiff JOHN PAUL MAC ISAAC prays for judgment

against the Defendant POLITICO as follows:

       (a)     Awarding Plaintiff compensatory damages of $1,500,000.00 to

replace Plaintiff’s lost income as a result of POLITICO’s wrongdoing;

       (b)     Awarding Plaintiff punitive damages as a result of POLITICO’s

wrongdoing in an amount to be determined at trial;

       (c)     Awarding Plaintiff pre- and post-judgment interest;

       (d)     Awarding Plaintiff all attorneys’ fees and costs associated with

litigating this case;

       (e)     Requiring POLITICO to make a public retraction of all false

statements and to issue a public apology to Plaintiff; and

       (f)     Such further relief as this Court deems just and proper.

             F. COUNT 5: DEFAMATION AND DEFAMATION PER SE
                               BFPCC, INC.

       172. Plaintiff incorporates by reference all allegations contained in

Paragraphs 1 – 58.
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        173. BFPCC, which is an acronym for “Biden for President Campaign

Committee,” is a Delaware corporation formed to operate as the Presidential

campaign for President Joseph R. Biden, Jr.

        174. As such, BFPCC supported the candidacy of Joseph R. Biden, Jr. for

president in the 2020 presidential elections.

        175. Billionaire George Soros contributed significantly to the candidacy of

Joseph R. Biden, Jr.18

        176. Upon information and belief, BFPCC knew about Plaintiff and the

laptop prior to the publication of the NY POST exposé likely hearing about it from

HUNTER.

        177. On or about October 14, 2020, as quoted in a POLITICO article,

Biden campaign officials stated that the NY POST exposé “is a Russian

disinformation operation.” See https://www.politico.com/news/2020/10/14/biden-

campaign-lashes-out-new-york-post-429486.

        178. Senior Biden Campaign Advisor, Symone D. Sanders, on behalf of

BFPCC, stated in an interview on MSNBC that, “[i]f the president [Trump]

decides to amplify these latest smears against the vice president and his only living

son, that is Russian disinformation.” See https://greenwald.substack.com/p/biden-

the-media-and-cia-labeled-the.

18 https://www.washingtonpost.com/politics/2020/07/16/wealthy-longtime-democratic-donors-boosted-biden-with-

big-checks-second-quarter/
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      179. Biden Deputy Campaign Manager Kate Bedingfield, on behalf of

BFPCC, said of the information from the laptop, “I think we need to be very, very

clear that what [Trump is] doing here is amplifying Russian misinformation.” See

Id.

      180. The Candidate himself, Joseph R. Biden, Jr., representing the views of

BFPCC, said, “[t]here are 50 former national intelligence folks who said that what

he’s accusing me of is a Russian plant. Five former heads of the CIA, both parties,

say what he’s saying is a bunch of garbage. Nobody believes it except his good

friend Rudy Giuliani.” See https://www.nationalreview.com/corner/sure-seems-

joe-biden-knowingly-lied-about-the-hunter-biden-laptop-story/.

      181. Joseph R. Biden, Jr. also said, “[t]he intelligence community warned

the president that Giuliani was being fed disinformation from the Russians. We

also know Putin is trying to spread disinformation about Joe Biden. When you put

the combination of Russia, Giuliani, and the president together ... it is what it is. A

smear campaign.” See https://krcrtv.com/joe-biden-calls-hunter-email-story-a-

smear-stays-quiet-about-2017-business-meeting.

      182. The members/employees of BFPCC knew or should have known that

the claims that the Hunter Biden Laptop story is Russian disinformation were false.
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      183. Despite such knowledge, BFPCC knowingly published and broadcast

the falsehoods as facts to third parties – the supporters of candidate Joseph R.

Biden, Jr.

      184. BFPCC knew or should have known such false statements would

likely result in material and substantial injury to Plaintiff, as the statements call

into question Plaintiff’s loyalty to the United States.

      185. BFPCC knew or should have known such false statements would

likely result in subjecting Plaintiff to distrust, scorn, ridicule, hatred, and contempt,

which continues to this day.

      186. BFPCC’s false statements impute that Plaintiff has committed an

infamous crime, i.e., treason and/or other crimes against the United States of

America by participating in a Russian attempt to undermine American democracy

and the 2020 Presidential election.

      187. As a direct and proximate result of the defamatory statements

broadcast by BFPCC, Plaintiff has suffered, and continues to suffer, substantial

damages, including the loss of his business.

      188. BFPCC had actual knowledge of the falsity of the claims and

understood the high probability that injury or damage would result to Plaintiff and,

despite such knowledge, broadcast the false and defamatory statement and has

issued no apology to the Plaintiff such as would repair that damage.
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       189. In the alternative, BFPCC’s actions, as described above, were so

reckless or wanting in care that they constituted a conscious disregard or

indifference to the rights of Plaintiff.

                                   Prayer for Relief

       WHEREFORE, the Plaintiff JOHN PAUL MAC ISAAC prays for judgment

against the Defendant BFPCC, Inc. as follows:

       (a)    Awarding Plaintiff compensatory damages of $1,500,000.00 to

replace Plaintiff’s lost income as a result of BFPCC’s wrongdoing;

       (b)    Awarding Plaintiff punitive damages as a result of BFPCC’s

wrongdoing in an amount to be determined at trial;

       (c)    Awarding Plaintiff pre- and post-judgment interest;

       (d)    Awarding Plaintiff all attorneys’ fees and costs associated with

litigating this case;

       (e)    Requiring BFPCC issue a public apology to Plaintiff; and

       (f)    Such further relief as this Court deems just and proper.

       G.     COUNT 5: DEFAMATION AND DEFAMATION PER SE
                       ROBERT HUNTER BIDEN

       190. Plaintiff incorporates by reference all allegations contained in

Paragraphs 1 – 58.

       191. HUNTER is the son of President Joseph R. Biden, Jr.
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      192. HUNTER supported the candidacy of Joseph R. Biden, Jr. for

president in the 2020 presidential elections.

      193. HUNTER knowingly left his laptop with Plaintiff on April 12, 2019.

      194. Soon thereafter HUNTER returned to Plaintiff’s shop to leave an

external hard drive to which Plaintiff could transfer the data from HUNTER’s

laptop.

      195. HUNTER never returned to Plaintiff’s shop pick up his laptop.

      196. When asked about the laptop in a television interview broadcast

around the world, HUNTER stated, “There could be a laptop out there that was

stolen from me. It could be that I was hacked. It could be that it was the – that it

was Russian intelligence. It could be that it was stolen from me. Or that there was a

laptop stolen from me.” See https://edition.cnn.com/2021/04/02/politics/hunter-

biden-laptop/index.html.

      197. HUNTER knew it was his laptop.

      198. HUNTER’s attorney, George Mesires, knew it was HUNTER’s laptop

and, as a result, contacted Plaintiff on October 13, 2020, the day before the

publication of NY POST exposé, about the laptop.
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      199. HUNTER, through his attorney Abbe David Lowell, has now

admitted that the laptop was his in letters dated February 1, 2023. See EXHIBIT

GG.

      200. HUNTER knowingly broadcast the false and defamatory information

about his laptop to third parties – viewers of the interview.

      201. HUNTER’s knowing broadcast of the false and defamatory

information about his laptop imputed that Plaintiff was involved in one or more

crimes including, theft of his laptop, hacking of his laptop, or being part of a plot

by Russian intelligence.
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      202. HUNTER knew or should have known such false statements would

likely result in material and substantial injury to Plaintiff, as the statements impute

that Plaintiff has committed one or more crimes.

      203. HUNTER knew or should have known such false statements in the

publication would likely result in subjecting Plaintiff to distrust, scorn, ridicule,

hatred, and contempt, which continues to this day.

      204. HUNTER’s false statements impute that Plaintiff has committed an

infamous crime, i.e., treason and/or other crimes against the United States of

America by participating in a Russian attempt to undermine American democracy

and the 2020 Presidential election.

      205. As a direct and proximate result of the defamatory statements by

HUNTER, Plaintiff has suffered, and continues to suffer, substantial damages,

including the loss of his business.

      206. HUNTER had actual knowledge of the falsity of the claims and

understood the high probability that injury or damage would result to Plaintiff and,

despite such knowledge, made the false and defamatory statement and has issued

no apology to the Plaintiff such as would repair that damage.

      207. In the alternative, HUNTER’s actions, as described above, were so

reckless or wanting in care that they constituted a conscious disregard or

indifference to the rights of Plaintiff.
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                                  Prayer for Relief

       WHEREFORE, the Plaintiff JOHN PAUL MAC ISAAC prays for judgment

against the Defendant HUNTER, Inc. as follows:

       (a)   Awarding Plaintiff compensatory damages of $1,500,000.00 to replace

Plaintiff’s lost income as a result of HUNTER’s wrongdoing;

       (b)    Awarding Plaintiff punitive damages as a result of HUNTER’s

wrongdoing in an amount to be determined at trial;

       (c)    Awarding Plaintiff pre- and post-judgment interest;

       (d)    Awarding Plaintiff all attorneys’ fees and costs associated with

litigating this case;

       (e)    Requiring HUNTER issue a public apology to Plaintiff; and

       (f)    Such further relief as this Court deems just and proper.


     H. COUNT 6: CIVIL CONSPIRACY TO COMMIT DEFAMATION
                         ALL DEFENDANTS

       208. Plaintiff incorporates by reference all allegations contained in

Paragraphs 1 – 205.

       209. All Defendants expressed support for then-Presidential candidate,

Joseph R. Biden, in the 2020 U.S. Presidential election and/or opposed incumbent

candidate, Donald J. Trump.
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      210. The information contained in the NY POST exposé hurt the candidacy

of Joseph R. Biden, Jr. and polls show that it could have resulted in the loss of the

presidential election.

      211. All Defendants knew that the information contained in the NY POST

exposé would hurt the candidacy of Joseph R. Biden and, potentially, prevent his

election.

      212. All Defendants knew or should have known that the information in

the NY POST exposé was not Russian disinformation.

      213. Voters who voted for Joseph R. Biden have indicated that, if they had

known more about the Hunter Biden laptop, they likely would not have voted for

Joseph R. Biden.

      214. All Defendants acted in concert to prevent the re-election of President

Donald J. Trump, which included defaming the Plaintiff.

      215. Upon information and believe, Defendants knew about the existence

of the laptop prior to the NY POST exposé.

      216. CNN and POLITICO participated in the Aspen Institute Burisma

Leak exercise.

      217. HUNTER knew the laptop was his and that he dropped it off at

Plaintiff’s shop, yet he publicly announced that the laptop may have been stolen

from him or been hacked by the Russians.
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        218. SCHIFF not only went on national television to knowingly like to the

American public but he also worked to suppress the spread of information by

contacting Twitter and, potentially, other social media platforms.

        219. BFPCC openly promoted the idea that the Russians were behind the

leak.

        220. All Defendants openly participated in the efforts to “kill” the Hunter

Biden laptop story by making accusations that Plaintiff was a willing participant in

a Russian plot to spread disinformation to impact the U.S. presidential election.

        221. All Defendants openly participated in the efforts to falsely

communicate to the general public that the Hunter Biden laptop story is Russian

disinformation and that Plaintiff is working with the Russians to influence the U.S.

Presidential elections.

        222. In doing so, the Defendants have unlawfully defamed the Plaintiff on

numerous occasions.

        223. Each Defendant provided substantial assistance to the other

Defendants by repeating the defamatory statements to bolster the false claims.

        224. Each Defendant assisted the other Defendants to accomplish a lawful

purpose (the election of Joseph R. Biden, Jr.) through unlawful means

(defamation).
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       225. The defamatory statements made about the Plaintiff by the Defendants

in furtherance of a conspiracy to cast doubt on the validity of the information

contained on the Hunter Biden Laptop resulted in significant damage to the

Plaintiff’s reputation and his business which closed soon after the defamatory

statements were broadcast and published.

       226. As a result a result of the reputational damage to Plaintiff and the

closing of his business, Plaintiff has suffered loss of his business and income.

                                  Prayer for Relief

       WHEREFORE, the Plaintiff JOHN PAUL MAC ISAAC prays for judgment

against the Defendants, jointly and severally, as follows:

       (a)    Awarding Plaintiff compensatory damages of $1,500,000.00 to

replace Plaintiff’s lost income as a result of Defendants’ wrongdoing;

       (b)    Awarding Plaintiff punitive damages as a result of Defendants’

wrongdoing in an amount to be determined at trial;

       (c)    Awarding Plaintiff pre- and post-judgment interest;

       (d)    Awarding Plaintiff all attorneys’ fees and costs associated with

litigating this case;

       (e)    Requiring all Defendants to issue public apologies to Plaintiff; and

       (f)    Such further relief as this Court deems just and proper.
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                    I. COUNT 8: AIDING AND ABETTING
                             ALL DEFENDANTS

      227. Plaintiff incorporates by reference all allegations contained in

Paragraphs 1 – 205.

      228. All Defendants expressed support for then-Presidential candidate,

Joseph R. Biden, in the 2020 U.S. Presidential election and/or opposed incumbent

candidate, Donald J. Trump.

      229. All Defendants knew or should have known that the information in

the NY POST exposé was not Russian disinformation.

      230. The information contained in the NY POST exposé hurt the candidacy

of Joseph R. Biden, Jr. and polls show that it could have resulted in the loss of the

presidential election.

      231. All Defendants knew that the information contained in the NY POST

exposé would hurt the candidacy of Joseph R. Biden and, potentially, prevent his

election.

      232. Voters who voted for Joseph R. Biden have indicated that, if they had

known more about the Hunter Biden laptop, they likely would not have voted for

Joseph R. Biden.

      233. Each Defendant knowingly provided assistance to the other

Defendants by falsely spreading the defamatory information to prevent the re-

election of President Donald J. Trump.
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      234. All Defendants knowingly participated in the efforts to “kill” the

Hunter Biden laptop story by making accusations that Plaintiff was a willing

participant in a Russian plot to spread disinformation to impact the U.S.

presidential election.

      235. All Defendants knowingly participated in the efforts to falsely

communicate to the general public that the Hunter Biden laptop story is Russian

disinformation and that Plaintiff is working with the Russians to influence the U.S.

Presidential elections.

      236. In doing so, the Defendants have unlawfully defamed the Plaintiff on

numerous occasions.

      237. Each Defendant provided substantial assistance to the other

Defendants by repeating the defamatory statements to bolster the false and

defamatory claims.

      238. Each Defendant assisted the other Defendants to accomplish a lawful

purpose (the election of Joseph R. Biden, Jr.) through unlawful means

(defamation).

      239. The defamatory statements made about the Plaintiff by the Defendants

in furtherance of a conspiracy to cast doubt on the validity of the information

contained on the Hunter Biden Laptop resulted in significant damage to the
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Plaintiff’s reputation and his business which closed soon after the defamatory

statements were broadcast and published.

       240. As a result a result of the reputational damage to Plaintiff and the

closing of his business, Plaintiff has suffered loss of his business and income.

                                   Prayer for Relief

       WHEREFORE, the Plaintiff JOHN PAUL MAC ISAAC prays for judgment

against the Defendants, jointly and severally, as follows:

       (a)    Awarding Plaintiff compensatory damages of $1,500,000.00 to

replace Plaintiff’s lost income as a result of Defendants’ wrongdoing;

       (b)    Awarding Plaintiff punitive damages as a result of Defendants’

wrongdoing in an amount to be determined at trial;

       (c)    Awarding Plaintiff pre- and post-judgment interest;

       (d)    Awarding Plaintiff all attorneys’ fees and costs associated with

litigating this case;

       (e)    Requiring all Defendants to issue public apologies to Plaintiff; and

       (f)    Such further relief as this Court deems just and proper.

                           DEMAND FOR JURY TRIAL

       Plaintiff requests a trial by jury on all issues raised herein.
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Date: February 21, 2023                Respectfully submitted,


/s/ Brian R. Della Rocca               /s/ Ronald G. Poliquin
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